
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Max D. Ballinger on the 12th day of December 2006 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is *767"Dismissed ex mero motu by order of the Court in conference, this the 3rd day of May 2007."
Upon consideration of the petition filed on the 12th day of December 2006 by Max D. Ballinger in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of May 2007."
Justice EDMUNDS recused.
